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                               UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF NEW YORK


    IOWA PUBLIC EMPLOYEES’
    RETIREMENT SYSTEM, et al.,                         No. 17-cv-6221 (KPF)

                Plaintiffs,

                                 v.

    BANK OF AMERICA CORPORATION,
    et al.,

                Defendants.


          PLAINTIFFS’ NOTICE OF MOTION FOR CLASS CERTIFICATION
                   AND APPOINTMENT OF CLASS COUNSEL

       PLEASE TAKE NOTICE that upon the filing of the accompanying Memorandum of

Law in Support of Plaintiffs’ Motion for Class Certification and Appointment of Class Counsel,

the Declaration of Daniel L. Brockett in support thereof, the Declaration of Michael B.

Eisenkraft in support thereof, all papers and pleadings submitted herewith, and any papers filed

in reply, Plaintiffs, through their undersigned counsel, hereby respectfully move this Court for an

order, pursuant to Rule 23 of the Federal Rules of Civil Procedure, certifying the proposed Class

and appointing Quinn Emanuel Urquhart & Sullivan, LLP and Cohen Milstein Sellers & Toll

PLLC as co-lead counsel for the Class.
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Dated: February 22, 2021                    Respectfully submitted

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